                         Case 3:23-cv-01905-HZ                         Document 1                   FrLED18 DECPage
                                                                                             Filed 12/18/23    ~2314:E'51JSDG-1JFP
                                                                                                                       1 of 5

Pro Se 5 (Rev. 1.2/16) Complaint for a Civil Case Alleging Nef!li!l:ence



                                           UNITED STATES DISTRICT COUR1FLEil18DEC~2314:251JSDC·ORP
                                                                                for the
                                                            McAfu 0.4,pl.Pistrict of Oi-ccfY\
                                                                      (ri'IVI.. r\Ae,{ Division




                                                                                   )
                                                                                          Case No.     3.;~3,.~w~110.S-: HL . .
      _13o\?Q, J:\/Y . . . Ji1&R\E- _ _                                            )
                                                                                                       (to be filled in by the Clerk's Office)

                             Plaintiff(s}                                          )
(Write the full name ofeach plaintiffwho is filing this complaint. if              )
the names ofall the plaintiffs cannot flt in the space above, please                      Jury Trial: (checkone) ~Yes 0No
                                                                                   )
write "see attached" in the space and attach an additional page
with the full list ofnames.)                                                       )
                                     -V-                                           )
                                                                                   )
                                                                                   )
                                                                                   )
     .stA~ &                     o~ok\......
                             _____
                                                                                   )
                                                                                   )
                              Defendant(s)
(Write the full name ofeach defendant who is being sued. ifthe                     )
names ofall the defendants cannot flt in the space abol'e, please                  )
write "see attached" in the space and attach an additional page                    )
with the full list ofnames.)



                          CO~IPLAINT FOR A CIVIL CASE ALLEGING NEGLIGENCE
                                                    (28 U.S.C. § 1332; Diversity of Citizenship)


I.         The Parties to This Complaint
           A.         The Plaintiff(s)

                      Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                      needed.
                                  Name
                                                                              I>JY M!~\E Bo~
                                  Street Address
                                                                           'Po£.11.J\N'O,O~~:t72:l<> 1 l co~l . NE.:PR.f__5cat"T.JT~3 to
                                  City and County
                                                                             (V\ult\'\Of\'l.tt~ c~l'\'t).
                                  State and Zip Code
                                 Telephone Number                            C.~~)-~~-:9:::nq _ _
                                 E-mail Address
                                                                             OD:ll.V'l:t~tn~L/'9'<"'.'l ...............

          B.          The Defenclant(s)

                      Provide the information below for each defendant named in the complaint, whether the defendant is an
                      individual, a government agency, an organization, or a corporation. For an individual defendant,
                      include the person's job or title (ifknown). Attach additional pages if needed.

                                                                                                                                                 Page 1 of 5
                         Case 3:23-cv-01905-HZ                      Document 1       Filed 12/18/23    Page 2 of 5

Pro Se) (Rev_ 12!16) Co,nplaint for a Civil Case Alle1Ull%! Negligence

                      Defendant No. J
                                 Namt!
                                                                         :6et~ l~11ccec _ _ __
                                 Joi? or Title (if!m<n111)
                                                                         .'D\S1Ttct___t\\1of~-----
                                 Street Address
                                 City and C::oµnty                       pq(fur0 , oR _ _ _ _ M!!..LtAJQ:tVH1
                                 $tate andZip Qo.de                      q·
                                 Telephone Number
                                 E-mall Address (f(]maw1V


                      Defendant No. 2
                                 N:ame
                                 Job or Title (iflSJ10wnJ
                                 Street Address
                                 City and .County
                                 State and Zip Code
                                 Telephone Nlimber
                                 E-mail Address (ifki101•ml


                      Defendant No. 3
                                 Name
                                 J<:>b or Ti_(Je {if~1oml)_
                                 Street Addl'ess
                                 City and County
                                 State and Zip _Code
                                 Telephone Number
                                 E-maiIAddress (ifkno:iVn)


                      Defendant No. 4
                                 Name
                                 Job orTitJ.~ (iflajOU'.IY
                                 Street Address
                                 City and Count}:
                                 State and Zip Code
                                 Telephone.Niunb~r.
                                 E-mail Address (lfk(l@Yn)



                                                                                                                     Page2 of 5
                           Case 3:23-cv-01905-HZ                     Document 1   Filed 12/18/23         Page 3 of 5

Pro Se 5 (Rev. 12/16) Complaint for a Civil C,ase Allei,:ine Ne2ligence


II.        Basis for Jurisdiction

           Federal courts are courts of limited jurisdiction (limited power). Under 28 U.S.C. § 1332, federal courts may
           hear cases in which a citize11 of one State sues a citizen of another State or nation and the amount at stake is
           more than $75,000. In that kind of case, called a diversity of citizenship case, no defendant may be a citizen of
           the same State as any plaintiff. Explain how these jurisdictional requirements have been met.

           A.         Tht> Plaintiff(s)

                      I.         If the plaintiff is an individual
                                 The plaintiff, (j1ame)            Lvf .--~~ ~\?e,                                            , is a citizen of the
                                 State of (name)          ORECiOI\J .
                      2.         If the plaintiff is a corporation
                                 The plaintiff, (name)                                                                                    , is incorporated
                                 under the laws of the State of (name)
                                 and has its principal place of business in the State of (name/



                      (If more than one plaintiffis named in the complaint, attach an additional page providing the
                      same information for each additional plaintiff)

          B.          The Defendant(s)

                      I.         If the defendant is an individual
                                 The defendant, (name)                                                                                    , is a citizen of
                                 the State of (11m11e)                                                                            Or is a citizen of
                                  (foreign nation)



                      2.         If the defendant is a corporation
                                 The defendant, (i1ame)           fHE:.-St'ft-:tE-.cJ-:...~----                              , is incorporated under
                                 the laws of the State of (name)            0R£AoAL,,,_ ,,           · ~ , , , , , ..., , , - - - · - ·    ___ ,   and has its
                                 principal place of business in the State of (namej      Q.{2-E(-zOfv
                                 Or is incorporated m1der the laws of (foreign nation)   .   aN.:t:11:..D ....st&f~j __
                                 and has its principal place of business in (name)    . _~,NQ,J{\ffi:'.L(~ { ~ fll).J~


                     (If more than one defendant is named in the complaint, attach an additional page providing the
                     same information for each additional defendant)

          C.         The Amount in Controversy

                     The amount in controversy-the amount the plaintiff claims the defendant owes or the amount at
                     stake-is more than $75,000, not counting interest and costs of court, because (explain):


                                                                                                                                                      Page 3 of 5
                         Case 3:23-cv-01905-HZ                      Document 1   Filed 12/18/23   Page 4 of 5

Pro Se 5 (Rev. 12/16) Complaint for a Civil Case Allep:imr Negligence·




III.       Statement of Claim

          \Vrite a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
          facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
          involved and what each defendant did that caused the plaintiff harm or violated the plaintiffls rights, including
          the dates and places of that involvement or conduct. If more than one claim is asserted, number each clain1 and
          write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.


          On (date)  12--1~-2..-~       , at (place) /w,.J.Ltl\lo (11\\i(Q\,}!i[j C<).JIT___ t\Q_V~
          the defendant(s): ( 1) performed acts that a person of ordinary pmdence in the same or sin1ilar circumstances
          would not have done; or (2) failed to perform acts that a person of ordinary pmdence would have done under the
          same or similar circumstances because (describe the acts or failw'es to act and why they were negligent)
       T AM A \JtOt.tJl elf NJ A<::,suLT r..JJ 1\tEt.~ cle.!Jre..Q. Ca.~No, z.'1-2.h-t-12-
       Md. o~ Na..tYtev. •'i-1 s ibOD r ret'.s.\ec\. tt v ' A ~ fur'_ ~ cv-lWliM I
        ~ ~ct!>\-<.. o/ et _>vlJ'L tVV\..W\1&rtJ-ieJ-. d"IV'-d. I ~ +olJ ½ cC{ll et tlluvnicur

          The acts or omissions caused or contributed to the cause of the plaintiff's injuries by (explain)

           'fy Vt&- apprehlflJJvu-A ~ lv--1Vl,1\Al ~v a.55 J+1 n<}---wt..... whfe-0 I 5
             ct. ::t ov>1 flY"'if~ Io~ v;3i- l ,f:e flt f-k. vu" r ,£,fv/1!..


IV.        Relief

          State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
          arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
          the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
          punitive or exempla1y damages claimed, the amounts, and the reasons you claim you are entitled to actual or
          punitive money damages.




                                                                                                                    Pag,4of/
                        Case 3:23-cv-01905-HZ                       Document 1   Filed 12/18/23   Page 5 of 5

Pro Se 5 (Re\·. 12/16) Complaint for a Civil Case Alleeim, Neeligence



V.         Certification and Closing

          Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
          and belief that this complaint: ( 1) is not being presented for an improper purpose, such as to harass, cause
          tumecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
          nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
          evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
          opportunity for fmther investigation or discove1y; and (4) the complaint otherwise complies with the
          requirements of Rule 11.

          A.         For Parties Without an Attorney

                     I agree to provide the Clerk's Office with any changes to my address where case-related papers may be
                     served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                     in the dismissal of my case.

                     Date of signing:


                     Signatme of Plaintiff
                     Printed Name of Plaintiff


          B.         For Attorneys

                     Date of signing:


                     Signature of Attorney
                     Printed Name of Attorney
                     Bar Number
                     Name of Law Firm
                     Street Address
                     State and Zip Code
                     Telephone Number
                     E-mail Address




                                                                                                                      Page 5 of 5
